
PER CURIAM.
Affirmed. Mankap Enterprises, Inc. v. Wells Fargo Alarm Services, 427 So.2d 332 (Fla. 3d DCA 1983); Continental Video Corp. v. Honeywell, Inc., 422 So.2d 35 (Fla. 3d DCA 1982); Weller v. Reitz, 419 So.2d 739 (Fla. 5th DCA 1982); Ace Formal Wear, Inc. v. Baker Protective Service, Inc., 416 So.2d 8 (Fla. 3d DCA 1982); L. Luria &amp; Son, Inc. v. Alarmtec International Corp., 384 So.2d 947 (Fla. 4th DCA 1980).
